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                       EXHIBIT A
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                                                                               Page 1
·1· · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · FOR THE NORTHERN DISTRICT OF TEXAS
·2

·3·   ·MONICA ABBOUD, individually· ·)
· ·   ·and on behalf of all others· ·)
·4·   ·similarly situated,· · · · · ·)
· ·   · · · · · · · · · · · · · · · ·)
·5·   · · · · · ·Plaintiff,· · · · · )
· ·   · · · · · · · · · · · · · · · ·)
·6·   ·v.· · · · · · · · · · · · · · )· Case No. 3:19-cv-00120-K
· ·   · · · · · · · · · · · · · · · ·)
·7·   ·AGENTRA, LLC, a Texas· · · · ·)
· ·   ·limited liability company,· · )
·8·   · · · · · · · · · · · · · · · ·)
· ·   · · · · · ·Defendant.· · · · · )
·9

10·   ·   ·   ·   ·   ·*****************************************
· ·   ·   ·   ·   ·   · · · · · · ORAL DEPOSITION OF
11·   ·   ·   ·   ·   · · · · · · · · CINDY DALE
· ·   ·   ·   ·   ·   · · · · · · ·FEBRUARY 5, 2020
12·   ·   ·   ·   ·   · · · · · · · · ·VOLUME 1
· ·   ·   ·   ·   ·   ·*****************************************
13

14· · · · ORAL DEPOSITION of CINDY DALE, produced as a

15· ·witness at the instance of the Plaintiff, and duly

16· ·sworn, was taken in the above-styled and -numbered cause

17· ·on the 5th day of February 2020, from 9:57 a.m. to 12:08

18· ·p.m., before TAMMY DICKSON CROSS, a Certified Shorthand

19· ·Reporter in and for the State of Texas, reported by

20· ·machine shorthand, at the law offices of Platt, Cheema +

21· ·Richmond, PLLC, 1201 North Riverfront Boulevard, Suite

22· ·150, Dallas, Texas· 75207, pursuant to the Federal Rules

23· ·of Civil Procedure and the provisions stated on the

24· ·record or attached hereto.

25
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                                                                               Page 2
·1· · · · · · · · · · ·A P P E A R A N C E S

·2

·3·   ·FOR THE PLAINTIFF:
· ·   · · · Mr. Patrick H. Peluso
·4·   · · · WOODROW & PELUSO, LLC
· ·   · · · 3900 East Mexico Avenue, Suite 300
·5·   · · · Denver, Colorado· 80210
· ·   · · · Telephone:· (720) 213-0675
·6·   · · · E-mail:· ppeluso@woodrowpeluso.com

·7

·8·   ·FOR THE DEFENDANT:
· ·   · · · Mr. Andrew Lin
·9·   · · · PLATT CHEEMA + RICHMOND, PLLC
· ·   · · · 1201 North Riverfront Boulevard, Suite 150
10·   · · · Dallas, Texas· 75207
· ·   · · · Telephone:· (214) 559-2700
11·   · · · E-mail:· alin@pcrfirm.com

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·1· ·I N D E X

·2· ·Appearances· · · · · · · · · · · · · · · · · · · ·2

·3· ·CINDY DALE

·4· · · · Examination by Mr. Peluso· · · · · · · · · · 4
· · · · · Examination by Mr. Lin· · · · · · · · · · · ·87
·5

·6· ·Changes and Signature· · · · · · · · · · · · · · ·94
· · ·Reporter's Certificate· · · · · · · · · · · · · · 96
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·8· · · · · · · · · · · · EXHIBITS MARKED

·9· ·NO.· · · · · · DESCRIPTION· · · · · · · · · · · · PAGE

10· ·Exhibit 1· · · Plaintiff's Notice of Rule 30(b)(6)
· · · · · · · · · · Deposition to Defendant Agentra,
11· · · · · · · · · LLC· · · · · · · · · · · · · · · · 9

12· ·Exhibit 2· · · Defendant's Responses to
· · · · · · · · · · Plaintiff's Requests for
13· · · · · · · · · Admission· · · · · · · · · · · · · 32

14·   ·Exhibit 3· · · Text Message, Thu. Oct 18,
· ·   · · · · · · · · 1:30 P.M., (214) 238-9664· · · · · 54
15
· ·   ·Exhibit 4· · · Agentra Enrollment Information,
16·   · · · · · · · · Re:· Monica G. Abboud· · · · · · · 57

17· ·Exhibit 5· · · Defendant's Responses to
· · · · · · · · · · Plaintiff's Requests for
18· · · · · · · · · Production· · · · · · · · · · · · ·61

19·   ·Exhibit 6· · · Agentra Healthcare Internal
· ·   · · · · · · · · Records, Re:· Monica G. Abboud· · ·65
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· ·   ·Exhibit 7· · · Defendant's Responses to
21·   · · · · · · · · Plaintiff's First Set of
· ·   · · · · · · · · Interrogatories· · · · · · · · · · 80
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                                                                            Page 4
·1· · · · · · · · · · ·P R O C E E D I N G S
·2· · · · · · · · · · · · · CINDY DALE,
·3· ·having been first duly sworn, testified as follows:
·4· · · · · · · · · · · · · EXAMINATION
·5· ·BY MR. PELUSO:
·6· · · · Q· · Good morning.· Can you please state your --
·7· ·state and spell your full name?
·8· · · · A· · Cindy, C-I-N-D-Y, Dale, D-A-L-E.
·9· · · · Q· · Okay.· Have you ever been deposed before?
10· · · · A· · Yes, about 25, 30 years ago.
11· · · · Q· · Okay.· Well -- well, as a refresher, go over
12· ·some ground rules.
13· · · · A· · Sure.
14· · · · Q· · So we have a court reporter here.· She's going
15· ·to record everything that we say on the record.
16· · · · A· · Okay.
17· · · · Q· · So it's important that we don't talk over each
18· ·other, so please wait until I finish asking my question
19· ·before answer -- answering and I'll extend the same
20· ·courtesy to you.
21· · · · A· · Sure.
22· · · · Q· · You also must answer audibly so that the court
23· ·reporter can record the answer, no nodding yes or
24· ·shaking your head no.· And if you have any questions
25· ·about my questions, please ask me; otherwise, I'll
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                                                                            Page 5
·1· ·assume that you understood the question when you
·2· ·answered it.· Are you aware that you're under oath today
·3· ·and must tell the truth?
·4· · · · A· · Yes.
·5· · · · Q· · Are you on any medications that would prevent
·6· ·you from answering truthfully?
·7· · · · A· · No.
·8· · · · Q· · Okay.· First, I just want to learn a little
·9· ·bit about you.· Where were you born?
10· · · · A· · Tulsa, Oklahoma.
11· · · · Q· · Tulsa?
12· · · · A· · Uh-huh.
13· · · · Q· · How long did you live in Tulsa?
14· · · · A· · For 31 years.
15· · · · Q· · Okay.· When did you -- well, did you move to
16· ·the Dallas area after Tulsa?
17· · · · A· · No.· I actually moved to Los Angeles.
18· · · · Q· · So you moved from Tulsa to Los Angeles and
19· ·then -- and then to Dallas?
20· · · · A· · Uh-huh.
21· · · · Q· · How long have you lived in Dallas?
22· · · · A· · 20 years.
23· · · · Q· · Okay.· Where did you -- where did you go to
24· ·high school?
25· · · · A· · East Central --
   Case 3:19-cv-00120-X Document 36-1 Filed 03/02/20   Page 7 of 21 PageID 197


                                                                           Page 54
·1· ·that -- to what the request is asking.
·2· · · · Q· · And other than speaking with your attorneys,
·3· ·there was no investigation?
·4· · · · · · · · · MR. LIN:· And objection, privilege.
·5· ·Don't disclose anything done at the request of your
·6· ·attorneys as well.
·7· · · · · · · · · MR. PELUSO:· Of course.
·8· · · · A· · Nothing else done.
·9· · · · Q· · Okay.· And, finally, Request to Admit No. 11
10· ·says, admit that the calls and text message calls that
11· ·plaintiff received were made on your behalf or for your
12· ·benefit.· Response, defendant denies this request.
13· · · · · · · · · MR. LIN:· Objection; outside the scope of
14· ·the 30(b)(6) deposition.
15· · · · Q· · Any investigations -- did Agentra conduct any
16· ·investigations other than those directed by its
17· ·attorneys?
18· · · · A· · No.
19· · · · Q· · Okay.· All right.
20· · · · · · · · · MR. PELUSO:· We're going to label this
21· ·Exhibit 3.
22· · · · · · · · · (Exhibit 3 marked.)
23· · · · Q· · Here you go.· Have you seen this document
24· ·before?
25· · · · A· · Yes.
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                                                                           Page 55
·1· · · · Q· · What is it?
·2· · · · A· · This is a text message that would have come
·3· ·from the CRM after an independent agent enrolls a
·4· ·consumer into our CRM.· The CRM sends a text message to
·5· ·the individual with an agreement -- enrollment agreement
·6· ·for them to, if they agree, sign -- digitally sign.
·7· · · · Q· · When you say "the CRM," we're referring again
·8· ·to that on-line software that houses information about
·9· ·enrollees and agents?
10· · · · A· · Correct.
11· · · · Q· · So once an agent loads information into the
12· ·CRM about a person who is in the process of enrolling --
13· · · · A· · Yes.
14· · · · Q· · -- the system sends out text messages like
15· ·this?
16· · · · A· · Yes.· The agent, as part of the enrollment
17· ·process, advises the consumer that they will receive a
18· ·text message or e-mail from Agentra with an enrollment
19· ·confirmation to -- to complete the enrollment to sign
20· ·the agree- -- digitally sign the agreement.
21· · · · Q· · Understood.· And that is sent by Agentra's CRM
22· ·software?
23· · · · A· · Correct.
24· · · · Q· · Okay.· How are the text messages sent?· Does
25· ·someone have to manually type in the texts or is it an
   Case 3:19-cv-00120-X Document 36-1 Filed 03/02/20   Page 9 of 21 PageID 199


                                                                           Page 56
·1· ·automatic thing that goes out from the CRM as soon as
·2· ·someone's enrolled?
·3· · · · A· · Once -- once the agent completes the
·4· ·enrollment, it automatically goes out.
·5· · · · Q· · What is the process of completing the
·6· ·enrollment?
·7· · · · A· · The consumer gives the agent their demographic
·8· ·information, depending on what product, they'd get
·9· ·additional information, dates of birth, product
10· ·enrolled, and payment information.
11· · · · Q· · And then the agent will load all that into the
12· ·CRM and then what is there, like a submit button?
13· · · · A· · Yes.
14· · · · Q· · And then once the submit button's clicked, the
15· ·text goes out?
16· · · · A· · Correct.
17· · · · Q· · Okay.· And you said that Agentra informs its
18· ·agents that the agents must inform the consumers that
19· ·these text messages are going to be sent?
20· · · · A· · Yes.
21· · · · Q· · Okay.· Does Agentra do anything to ensure that
22· ·agents actually are notifying consumers that the text
23· ·messages will be sent?
24· · · · A· · It's part of the enrollment process.
25· · · · Q· · Walk me through that.· What do you mean it's
   Case 3:19-cv-00120-X Document 36-1 Filed 03/02/20   Page 10 of 21 PageID 200


                                                                            Page 57
·1· ·part of the enrollment process?
·2· · · · A· · Just as I said, they do -- complete the
·3· ·enrollment, advise -- in the system, advise the consumer
·4· ·they will receive a text message or an -- an e-mail.
·5· · · · Q· · I see.· So as the agent is typing in the
·6· ·information, there's -- there's a reminder that pops
·7· ·up?
·8· · · · A· · Yes.
·9· · · · Q· · Okay.· Okay.· So this text message would have
10· ·been sent through Agentra's CRM system?
11· · · · A· · Yes.
12· · · · Q· · Once the agent clicks submit, this would have
13· ·gone out?
14· · · · A· · Yes.
15· · · · Q· · Okay.
16· · · · · · · · · MR. PELUSO:· All right.· We are going to
17· ·label this -- what are we up to?· 4?
18· · · · · · · · · THE REPORTER:· Yes.
19· · · · · · · · · MR. PELUSO:· -- Exhibit 4.
20· · · · · · · · · (Exhibit 4 marked.)
21· · · · Q· · Here you go.· All right.· Have you seen this
22· ·document before?
23· · · · A· · Yes.
24· · · · Q· · What is it?
25· · · · A· · This is the enrollment confirmation.
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                                                                            Page 58
·1· · · · Q· · What is an enrollment confirmation?
·2· · · · A· · This is the document that is sent out via text
·3· ·message or e-mail.
·4· · · · Q· · Right.
·5· · · · A· · And that the consumer receives, read through
·6· ·the agreement, if they agree with it, they
·7· ·electronically sign the agreement.
·8· · · · Q· · Understood.· To be clear for the record, this
·9· ·is the document that -- that pulls up if you type in the
10· ·URL from Exhibit 3 into a web browser?
11· · · · A· · Correct.
12· · · · Q· · You see on the bottom, it says
13· ·https://www.1enrollment.com.
14· · · · A· · Yeah.
15· · · · Q· · What is 1enrollment.com?
16· · · · A· · That's the enrollment system.
17· · · · Q· · Okay.· Is that different than the CRM?
18· · · · A· · No.· That is the CRM.
19· · · · Q· · It's just called 1 Enrollment?
20· · · · A· · It -- for the enrollment part of the system,
21· ·yes.
22· · · · Q· · Okay.· But it's all the same CRM?
23· · · · A· · Yes.
24· · · · Q· · Okay.· See on Page 1 here it says Data
25· ·Partnership Group, LP?
   Case 3:19-cv-00120-X Document 36-1 Filed 03/02/20   Page 12 of 21 PageID 202


                                                                            Page 69
·1· · · · Q· · -- time?
·2· · · · · · · · · Okay.· You see the entry, the fourth one
·3· ·down, it says, December 26, 2018 at 11:45 a.m., a user
·4· ·named BMouse, the note says, mass update initiated by
·5· ·BMouse, delete effective date.· Do you know what that
·6· ·means?
·7· · · · A· · It -- he deleted the effective date.
·8· · · · Q· · So the effective date being what?
·9· · · · A· · The date that the products would have become
10· ·active.
11· · · · Q· · Okay.· And why would it be deleted?
12· · · · A· · There was no -- the -- Ms. Abboud never signed
13· ·the document --
14· · · · Q· · Got it.
15· · · · A· · -- so it was not complete.
16· · · · Q· · Understood.· Okay.· Just real quick, on the
17· ·next page, Page 3, what is this that I'm looking at?
18· · · · A· · Where?
19· · · · Q· · I'm sorry.· On the bottom right where it says
20· ·Agentra 00003.
21· · · · A· · Oh, okay.· Yes.
22· · · · Q· · What is this?
23· · · · A· · This is -- it's just the way this printed out.
24· ·So is this the same -- no, this is a different
25· ·enrollment, so it's just -- it's a different enrollment.
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                                                                            Page 70
·1· · · · Q· · Okay.· So that's why -- you know, the first
·2· ·one we were looking at said November 7, 2018, this one
·3· ·said January 22nd.
·4· · · · A· · Uh-huh.
·5· · · · Q· · Okay.· The agent on -- on this, Agentra 0003,
·6· ·under the Set Up portion, it says, created January 22nd,
·7· ·2019, 11:24 a.m.· The agent says 322087, Health Care
·8· ·Enrollment Center.
·9· · · · A· · Yes.
10· · · · Q· · The first, Agentra 00001, the entry created
11· ·November 7th, 2018 at 5:09 p.m., the agent is 310062, it
12· ·says, I Life and Health Insurance Comp- -- Services.
13· · · · A· · Yes.
14· · · · Q· · Is that a different agent than Health Care
15· ·Enrollment Center?
16· · · · A· · Yes.
17· · · · Q· · Okay.· If you'd please turn to Agentra 000005.
18· ·Do you see towards the top where it says Interactions?
19· · · · A· · Yes.
20· · · · Q· · So this says that on Monday, February 4th,
21· ·2019, there was some sort of cancellation interaction.
22· · · · A· · Yes.
23· · · · Q· · Is that because Abboud called and canceled?
24· · · · A· · Yes.
25· · · · Q· · The description there says, member called
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                                                                            Page 71
·1· ·because she received cards, but did not agree to plan.
·2· · · · · · · · · MR. LIN:· Objection.
·3· · · · Q· · Not --
·4· · · · · · · · · MR. LIN:· Doesn't say did not.
·5· · · · · · · · · MR. PELUSO:· Oh, you're right.· Sorry.
·6· · · · Q· · It -- it says, member called because she
·7· ·received cards, but did agree to plan.· That's
·8· ·unintelligible to me.· Do you have an understanding of
·9· ·why Abboud canceled, what reason was given?
10· · · · A· · Yes.
11· · · · Q· · What was that reason?
12· · · · A· · The -- if you look at the notes, it said,
13· ·reviewed docs, no verification call or esig, member
14· ·upset and requested to cancel.· She did not sign the
15· ·agreement, so it should never have gone active.· Her
16· ·credit card was charged and it should not have.· That
17· ·was an error.
18· · · · Q· · Understood.· So for one reason or -- or
19· ·another, even though she didn't sign, it enrolled her
20· ·anyway?
21· · · · A· · The date was not deleted, as you saw on that
22· ·previous, where they went in and deleted that effective
23· ·date, because the -- the document was not returned,
24· ·the -- the signed enrollment agreement.
25· · · · Q· · Okay.
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                                                                            Page 72
·1· · · · A· · That should have -- process should have been
·2· ·done on this and that was a human error.· It was not --
·3· ·not done.
·4· · · · Q· · Understood.· Okay.· All right.· I'd like to
·5· ·direct your attention to Agentra 000008.· Have you seen
·6· ·this document before?
·7· · · · A· · Yes.
·8· · · · Q· · Can you tell me what it is?
·9· · · · A· · This was an e-mail that went out to agents
10· ·back on March 19th.
11· · · · Q· · I see it was sent on March 19th.· Do you know
12· ·when it was drafted?
13· · · · A· · I do not recall.
14· · · · Q· · Do you know who drafted it?
15· · · · A· · I would have been the one to -- to draft it.
16· · · · Q· · Okay.· Are there any other versions of this?
17· · · · A· · This particular e-mail?· No.· That would be
18· ·the version.
19· · · · Q· · Okay.· It says, from agent support at
20· ·agentra.com to Kristen Oakley.· Who is Kristen Oakley?
21· · · · A· · She works in agent support.
22· · · · Q· · Okay.· It says, important announcement, TCPA.
23· ·Dear Valued Agent, Agentra is consistently striving to
24· ·remain compliant with all state regulations, federal
25· ·laws, including but not limited to the Telephone
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                                                                            Page 73
·1· ·Consumer Protection Act, and professional insurance sale
·2· ·practices.· Because of the serious nature, we want to
·3· ·make sure that you understand that no violation of these
·4· ·rules and regulations will be tolerated.· Upon
·5· ·notification to Agentra of any allegation of an agent
·6· ·engaging in any prohibited act, that agent's enrollment
·7· ·portal will be turned off.· The agent will be unable to
·8· ·enroll any future members until the matter has been
·9· ·resolved and proof has been provided that they are not
10· ·in violation of any FTC laws.· I'll stop right there.
11· · · · · · · · · Do you know how many agents have had
12· ·their enrollment portals turned off?
13· · · · A· · Probably 10.
14· · · · Q· · 10?
15· · · · A· · Uh-huh.
16· · · · Q· · And of the 10, do you know how many have been
17· ·able to get the portal turned back on?
18· · · · A· · That actually enrolled again, I -- maybe two
19· ·or three.
20· · · · Q· · Okay.· And when you -- when you tell the
21· ·agents here that until the matter has resolved and proof
22· ·has been provided, what sort of proof do you require?
23· · · · A· · It can vary, again, depending on the
24· ·allegation in the case.· We consult with our attorneys.
25· · · · Q· · Okay.· Once a agent has his enrollment portal
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                                                                            Page 74
·1· ·turned off in the few cases where that agent's portal's
·2· ·been turned back on, does Agentra increase its
·3· ·monitoring of that agent to ensure that they're
·4· ·complying with the TCPA?
·5· · · · A· · Yes, in the respect we can.· Again, we're
·6· ·limited.
·7· · · · Q· · What sort of additional oversight would --
·8· ·does Agentra do?
·9· · · · A· · Would just be more of reminders that any
10· ·further violations could result in being terminated for
11· ·cause.
12· · · · Q· · Okay.· So you would, essentially, just send
13· ·TCPA compliance e-mails more frequently to that agent?
14· · · · A· · Yes.
15· · · · Q· · Okay.· Has an e-mail like this been sent out
16· ·other than on March 19th, 2019?
17· · · · A· · There would have been prior, yes.
18· · · · Q· · Okay.· Is it something that gets sent out
19· ·on -- on an annual basis?
20· · · · A· · Annually or twice a year.
21· · · · Q· · Okay.· If you see, the last paragraph of this
22· ·e-mail, it says, at Agentra our goal is to provide the
23· ·consumer with the best benefits for their dollar.· All
24· ·agents are responsible for utilizing practices and lead
25· ·sources that are vetted and legal.· Does Agentra do
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                                                                            Page 75
·1· ·anything to monitor the lead sources of its agents?
·2· · · · A· · No.
·3· · · · Q· · Does it provide any guidance on how to vet
·4· ·lead sources and confirm that they're legal?
·5· · · · A· · No.
·6· · · · Q· · Does it periodically -- does it ask agents to
·7· ·periodically report their lead sources?
·8· · · · A· · No.
·9· · · · Q· · Does Agentra do anything to monitor which lead
10· ·sources its agents are using?
11· · · · A· · These are independent agents and any of them
12· ·will not provide that.· They consider it confidential
13· ·information --
14· · · · Q· · Has Agen- --
15· · · · A· · -- for competitive reasons.
16· · · · Q· · Has Agentra asked them in the past?
17· · · · A· · Yes.
18· · · · Q· · How were they asked?
19· · · · A· · If there was a violation, TCPA violation, yes,
20· ·they were asked to disclose the lead vendor.
21· · · · Q· · Okay.· But only after a complaint's been
22· ·made?
23· · · · A· · Yes.
24· · · · Q· · Would those agents have been asked over the
25· ·phone?· Was a letter sent?· How -- how were they
   Case 3:19-cv-00120-X Document 36-1 Filed 03/02/20   Page 19 of 21 PageID 209


                                                                            Page 76
·1· ·asked?
·2· · · · A· · Both.· Could be both.
·3· · · · Q· · Just depends.· Okay.· And then it says, please
·4· ·take this notice as a positive step to train and retrain
·5· ·your agents to represent the products accurately.
·6· ·Training leads to better persistency and happier
·7· ·customers.· Does Agentra provide any training to the
·8· ·agents?
·9· · · · A· · Not training, no.
10· · · · Q· · So here, I'm -- I'm saying it's -- you're --
11· ·you're -- this is Agentra sending an e-mail to its
12· ·agents asking them to take this notice as a positive
13· ·step to train and retrain agents.· I'm asking if Agentra
14· ·had any involvement in that training that you were
15· ·requesting them to do?
16· · · · A· · No.· These agents -- a lot of these are call
17· ·centers that have downline agents.· So that statement
18· ·was geared towards those that have downline agents.
19· · · · Q· · When you say that they're call centers, so an
20· ·agent like Health Care Enrollment Center that was
21· ·associated with Abboud's lead, some of those agents have
22· ·call centers?
23· · · · A· · Some may; some may not.· Yeah.
24· · · · Q· · Okay.· Does Agentra keep track of which agents
25· ·it considers to be call centers?
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·1· · · · A· · If they have downline agents under them, yes.
·2· · · · Q· · Explain that to me.· Who would be the downline
·3· ·agent in that scenario?· So Agentra has agents who
·4· ·operate call centers and you're saying that those call
·5· ·center agents have downline agents.
·6· · · · A· · They could.
·7· · · · Q· · I'm trying to understand what that --
·8· · · · A· · There's different scenarios.· It could be
·9· ·there's independent agents that work on their own,
10· ·there's face-to-face agents, there's agents that enroll
11· ·in a call center environment, there's a lot of different
12· ·types of agents, there's some that have agents under
13· ·them that report up to them --
14· · · · Q· · Uh-huh.
15· · · · A· · -- which are generally the ones doing training
16· ·on compliance, their own type of compl- -- their own
17· ·internal compliance and ensure they're complying with
18· ·anything else they're supposed to comply with.
19· · · · Q· · Understood.· Does the -- does Agentra's
20· ·training of its own agents different in any way
21· ·depending on the type?· So if you have a face-to-face
22· ·agent, do they receive a different sort of training than
23· ·the call center agents?
24· · · · A· · As far as compliance?
25· · · · Q· · As far as TCPA compliance goes, yes.
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·1· · · · A· · They're -- regardless of what type, they're
·2· ·all expected to follow all state and federal guidelines,
·3· ·including TCPA.
·4· · · · Q· · Okay.· Is there any additional TCPA training
·5· ·or guidance or oversight as it relates to the agents
·6· ·that Agentra knows are call centers?
·7· · · · A· · There would be more interaction at usually the
·8· ·top tier agent to ensure that they are training properly
·9· ·or that they are providing TCPA information to their
10· ·downlines.
11· · · · Q· · What do you mean by the top tier agent?
12· · · · A· · Again, there's a top agent that may have
13· ·agents under them in that call center environment.
14· · · · Q· · Okay.· Okay.· If you'd just turn -- turn the
15· ·page to Agentra 000009.· Have you seen this document
16· ·before?
17· · · · A· · Yes.
18· · · · Q· · What is it?
19· · · · A· · This is an agent agreement.· Supposed to be an
20· ·agent agreement, yes.
21· · · · Q· · Okay.· With Jake Gabbard of Health Care
22· ·Enrollment Center?
23· · · · A· · Yes.
24· · · · Q· · Okay.· And if you flip to Agentra 000015,
25· ·is -- is this the -- just the signature page of the
